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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

______________________
            Plaintiff(s),

       v.                                                            CIVIL ACTION
                                                                     NO. ____-_________

______________________
            Defendant(s),


                               SAMPLE SCHEDULING ORDER


A. KELLEY, D.J.
        This Sample Scheduling Order is intended to aid and assist counsel in focusing on the
various stages of pretrial litigation. It also provides guidance about the Court’s practices and
procedures. Counsel should consult and jointly recommend, if possible, a proposed schedule as
per the below timetable. Efficient management of discovery and motion practice facilitates
effective, speedy, and fair disposition, whether by settlement or trial. In lieu of a conference to
discuss scheduling, the Court may adopt the proposed schedule submitted jointly by the parties.


                         Timetable for Discovery and Motion Practice
        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it
is hereby ordered that:
   1. Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) must be
      completed by ___________________.

   2. Amendments to Pleadings. Except for good cause shown, no motions seeking leave to
      add new parties or to amend the pleadings to assert new claims or defenses may be filed
      after ____________________.

   3. Fact Discovery – Interim Deadlines.

            a. Written discovery (requests for production of documents, interrogatories and
               request for admissions) shall be served no later than ___________________.

            b. All depositions, other than expert depositions, must be completed by
               ___________________.
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4. Fact Discovery – Final Deadline.
   All discovery, other than expert discovery, must be completed by __________________.

5. Status Conference. NOTE: The Court will schedule a status conference shortly after the
   close of fact discovery to discuss case management issues such as the need for expert
   discovery and dispositive motions.

6. Expert Discovery.
      a. Plaintiff(s)’ trial experts must be designated, and the information contemplated by
         Fed. R. Civ. P. 26(a)(2) must be disclosed, by __________________.

       b. Plaintiff(s)’ trial experts must be deposed by __________________.

       c. Defendant(s) trial experts must be designated, and the information contemplated
          by Fed. R. Civ. P. 26(a)(2) must be disclosed, by _________________.

       d. Defendant(s)’ trial experts must be deposed by ________________.

7. Dispositive Motions.

       a. Dispositive motions, such as motions for summary judgment or partial summary
          judgment and motions for judgment on the pleadings, must be filed by
          ___________________.

       b. Oppositions to dispositive motions must be filed within 21 days after service of
          the motion.

       c. Reply memoranda are permitted, provided that such reply memorandum does not
          exceed ten pages, is double-spaced, and is filed within 14 days after service of the
          opposition papers.

       d. Sur-Reply memoranda are not permitted.


                          Additional Procedural Instructions
A. In-Person or Remote Hearings. All court conferences and hearings will be held in
   person in Courtroom 8, unless the parties jointly request a remote hearing to be
   conducted over Zoom for scheduling and status conferences. Parties will be notified if an
   in-person hearing is necessary on motions.

B. Extension of Deadlines. Motions to extend or modify deadlines will be granted only for
   good cause shown. All motions to extend shall contain a brief statement of the reasons

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   for the request; a summary of the discovery completed as well as the discovery, if any,
   that remains to be conducted; and a specific date or dates by which the requesting party
   expects to complete the additional discovery, join other parties, amend the pleadings, or
   file a motion (including updated deadlines for filing of opposition and reply).

C. Motions to Compel or Prevent Discovery. Except for good cause shown, motions to
   compel discovery, motions for protective orders, motions to quash, motions to strike
   discovery responses, and similar motions must be filed no later than the close of fact
   discovery or the close of expert discovery, whichever deadline is relevant. If additional
   discovery is compelled by the Court after the relevant deadline has passed, the discovery
   deadline shall be extended solely for the requested discovery. The parties may privately
   agree to continue discovery beyond the court-ordered deadline, but the Court will not
   entertain any motions related to disputes arising from discovery conducted beyond the
   court-ordered deadline.

D. Status Conferences. The Court will schedule a status conference at or near the close of
   fact discovery for case management purposes. Any party who reasonably believes that an
   earlier status conference will assist in the management or resolution of the case may
   request one from the Court, upon reasonable notice to opposing counsel.

E. Early Resolutions of Issues. The Court recognizes that, in some cases, resolution of one
   or more preliminary issues may remove a significant impediment to settlement or
   otherwise expedite resolution of the case. Counsel are encouraged to identify any such
   issues and to make appropriate motions at the earliest stage possible, in the litigation.

F. Final Pretrial Conference. Trial counsel are required to attend any pretrial conference.
   The parties shall prepare and submit a joint pretrial memorandum in accordance with
   Local Rule 16.5(d) seven business days prior to the date of the conference, except that the
   parties need not include matters required by Local Rule 16.5(d)(2) or (3). Addresses and
   telephone numbers of witnesses should not be listed in the pretrial memorandum, as
   stated by Local Rule 16.5(d)(10).




                                                        SO ORDERED

                                                        Angel Kelley
                                                        United States District Judge




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